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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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 UNITED STATES OF AMERICA

         - v. -

 VIRGIL GRIFFITH,                             20 Cr. 15 (PKC)

                    Defendant.

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      GOVERNMENT’S OPPOSITION TO THE DEFENDANT’S MOTION FOR A
              RULE 15 DEPOSITION OR VIDEO TESTIMONY




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                               PRELIMINARY STATEMENT

       The Government respectfully submits this memorandum in opposition to defendant Virgil

Griffith’s motion to depose, pursuant to Federal Rule of Criminal Procedure 15, Tju Liang Chua,

a Director at Singaporean law firm Drew & Napier and the General Counsel of the Ethereum

Foundation (the “Deponent”), or in the alternative allow live video testimony in the upcoming

trial. The Court should deny the motion.

       Despite knowing about the substance of the Deponent’s proffered testimony since early

2020 based on materials produced in discovery, the defendant moved for a deposition two weeks

before trial. Even accepting that the Deponent, who is barred in New York, is refusing to come to

the United States, the defendant’s motion should be denied. The Deponent’s proposed testimony

is not material because it is largely inadmissible, consisting of hearsay, cumulative of other

evidence, cumulative of testimony that the defendant could provide by testifying, and does not

exculpate the defendant. Moreover, allowing the Deponent’s testimony would not further the

interests of justice because the defendant and the Deponent are using the Ethereum Foundation’s

attorney-client privilege as a sword and a shield, and because the Government’s ability to cross-

examine the Deponent at this late date may be limited depending on the procedures used.1

                                     RELEVANT FACTS

       On January 24, 2020, and March 13, 2020, the Government produced the emails and

WhatsApp messages, drawn from the defendant’s own accounts and devices, attached to the

defendant’s motion as Exhibits B, C, and D. Starting on February 3, 2020, the Government

received voluntary disclosures from the Ethereum Foundation which were produced to the


1
  The Government requests that this submission be maintained under seal until the Court rules on
the defendant’s application to seal the underlying motion.
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defendant in discovery. In addition, the Ethereum Foundation has withheld from production

documents in light of attorney-client privilege.

       On August 31, 2021, the defendant proposed a testimonial stipulation for the Deponent

largely tracking the content of the unsigned draft affidavit attached to the defendant’s motion. See

Def. Ex. A. On September 7, 2021, the Government declined to agree to that stipulation and, six

days later on September 13, 2021, just two weeks before trial, the defendant filed the instant

motion.

                                          DISCUSSION

I. Applicable Legal Standards under Rule 15

       Federal Rule of Criminal Procedure 15 allows for pretrial depositions in criminal cases

only in “exceptional circumstances and in the interest of justice.” Fed. R. Crim. P. 15(a)(1); see

United States v. Drogoul, 1 F.3d 1546, 1551 (11th Cir. 1993) (“Depositions generally are

disfavored in criminal cases”). The burden is on the party seeking a Rule 15 deposition to establish

that such exceptional circumstances exist and that injustice will result if the motion is denied. See

United States v. Whiting, 308 F.2d 537, 541 (2d Cir. 1962); see also United States v. Kelley, 36

F.3d 1118, 1124 (D.C. Cir. 1994). Specifically, “[a] movant must show that (1) the prospective

witness is unavailable for trial, (2) the witness’ testimony is material, and (3) the testimony is

necessary to prevent a failure of justice.” United States v. Cohen, 260 F.3d 68, 78 (2d Cir. 2001);

see also United States v. Johnpoll, 739 F.2d 702, 709 (2d Cir. 1984); United States v. Rosenstein,

474 F.2d 705, 715 (2d Cir. 1973).

       Rule 15 provides “that the district court retains broad discretion in granting a Rule 15(a)

motion and that the court should review these motions on a case-by-case basis, examining whether

the particular characteristics of each case constitute ‘exceptional circumstances.’” United States

v. Dillman, 15 F.3d 384, 389 (5th Cir. 1994). “Presumably, ‘exceptional’ circumstances occur


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very, very rarely and would strike someone as remarkable or astounding.” Matter of Grand Jury

Proceedings [Redacted], 377 F. Supp. 3d 439, 444 n.5 (D. Del. 2018); see also United States v.

Rosen, No. 05 Cr. 225, 2006 WL 5029996, at *1 (E.D. Va. Apr. 21, 2006). (“Rule 15(a)

depositions are appropriately granted only in rare circumstances.”).

       It is well-settled that, notwithstanding a Court’s ability to grant a motion under Rule 15

under “exceptional circumstances and in the interest of justice,” Fed. R. Crim. P. 15(a), “use of

depositions in criminal cases is not favored because the factfinder does not have an opportunity to

observe the witness’ demeanor.” United States v. Milian-Rodriguez, 828 F.2d 679, 686 (11th Cir.

1987); see also Drogoul, 1 F.3d at 1551 (“In particular, because of the absence of procedural

protections afforded parties in the United States, foreign depositions are suspect and, consequently,

not favored.”). Thus, the burden is on the movant to show that a Rule 15 deposition is truly

warranted. See Whiting, 308 F.2d at 541.

       The mere fact that a purported witness resides in a foreign country does not demonstrate

his or her “unavailability” for Rule 15 purposes. See United States v. Ismaili, 828 F.2d 153, 160

(3d Cir. 1987) (holding that unavailability requirement not satisfied for witnesses residing in

Morocco). The moving party rather must make some showing that the foreign-based witness is

truly unable or unwilling to come to the United States to testify and that the moving party has made

a “good faith effort to produce the person to testify at trial.” Johnpoll, 739 F.2d at 709; United

States v. Stein, 482 F. Supp. 2d 360, 365 (S.D.N.Y. 2007) (denying a Rule 15 motion because,

inter alia, “[t]he Court thus is unable to determine whether [the movant] has made the requisite

‘good-faith effort to produce the person to testify at trial’” (quoting Johnpoll, 739 F.2d at 709));

see also United States v. Oudovenko, No. 00 Cr. 1014 (JG), 2001 WL 253027, at *2 (E.D.N.Y.

Mar. 7, 2001) (“[Defense] counsel’s affirmation [that the witnesses would not voluntarily travel to




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the United States to testify at the trial] fails to establish that he or [the defendant] made a good

faith effort to secure the presence of these witnesses at trial, such as by offering to pay their travel

expenses.”).

        When a defendant makes a motion for a Rule 15 deposition, he or she must show, beyond

“unsubstantiated speculation,” that the testimony sought “exculpates the defendant.” Kelley, 36

F.3d at 1125 (internal quotation marks and citation omitted) (affirming denial of depositions where

anticipated testimony, although relevant, was not exculpatory); see also United States v. Merritt,

No. 90 CR 767 (JSM), 1991 WL 79235, at *4 (S.D.N.Y. May 7, 1991) (denying Rule 15 deposition

request where “the defendants have made no showing that the deponents’ testimony would be

exculpatory”); United States v. Esquivel, 755 F. Supp. 434, 439 (D.D.C. 1990) (“[A] defendant

typically demonstrates the ‘exceptional circumstances’ necessary for success on a Rule 15(a)

motion by some preliminary showing that the testimony will exculpate him.” (citations omitted)).

The moving party must do more than show that the testimony sought is relevant to the case.

Ismaili, 828 F.2d at 161 & n.6 (3d Cir. 1987) (holding that a district court cannot abuse its

discretion in denying a Rule 15 deposition where the testimony “could not negate the crux of the

government’s indictment”).

        A Rule 15 motion should also be denied if it seeks to take testimony that is cumulative,

Stein, 482 F. Supp. 2d at 365 (citing United States v. Grossman, No. S2 03 Cr. 1156 (SHS), 2005

WL 486735, at *3 (S.D.N.Y. Mar. 2, 2005)), or that is “clearly” inadmissible, see Drogoul, 1 F.3d

at 1555 (“[T]he court need not, at the cost of time and money, engage in an act of futility by

authorizing depositions that clearly will be inadmissible at trial.”); see also United States v.

Warren, 713 F. Supp. 2d 1, 4 (D.D.C. 2010); Grossman, 2005 WL 486735, at *3. Indeed, “[a]

court does not abuse [its] discretion where it denies a Rule 15 motion because ‘the evidence [is] in




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some respects irrelevant and in others cumulative and possibly inadmissible as hearsay.’” United

States v. Campbell, No. 91 Cr. 1219 (RJD), 1998 WL 564376, at *1 (E.D.N.Y. June 30, 1998)

(quoting United States v. Hernandez–Escarsega, 886 F.2d 1560, 1569-70 (9th Cir. 1989)).

          In addition to requiring a showing of unavailability and materiality, a district court must

also consider whether significant “countervailing factors” exist which would render the taking of

depositions unjust. Drogoul, 1 F.3d at 1552.

          With respect to video testimony, the Second Circuit has held that, “[u]pon a finding of

exceptional circumstances, . . . a trial court may allow a witness to testify via two-way closed-

circuit television when this furthers the interest of justice.’” United States v. Gigante, 166 F.3d 75,

81 (2d Cir. 1999). “Courts now apply the standard used for Rule 15 depositions when determining

whether to permit two-way video testimony at trial, and ‘will allow such testimony only when

(1) the witness’s testimony is material; (2) the [movant] has made good-faith and reasonable

efforts to obtain the witness’s presence and is unable to do so (that is, that the witness is unavailable

within the meaning of the case law); and (3) allowing testimony by such means furthers the

interests of justice.’” United States v. Griffin, No. 11-CR-936 (RJS), 2021 WL 3188264, at *1

(S.D.N.Y. July 28, 2021) (quoting United States v. Buck, 271 F. Supp. 3d 619, 622–23 (S.D.N.Y.

2017)).

II. The Motion for Deposition or Video Testimony Should be Denied

          The defendant’s motion should be denied because it fails to meet the standard for a Rule

15 deposition or video testimony. At the outset, in the absence of a signed declaration, the

Government doubts the unavailability of the Deponent, the General Counsel of a Swiss entity and

partner at a law firm, who is barred in New York State. In any event, the defendant’s motion should

be denied because the defendant cannot carry his burden to establish that the proposed testimony

would be material or that it would be further the interests of justice.


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    A. The Proposed Testimony Is Not Material

       The defendant’s motion should be denied because he has not proffered testimony that will

be material. As described in the Deponent’s own unsigned affidavit, the proposed testimony will

be inadmissible and cumulative.

       The vast majority of the unsigned declaration quotes or paraphrases from prior written

communications also attached to the defendant’s motion as Exhibits B, C, and D. Def. Ex. A ¶¶ 3-

6. To the extent the defendant seeks to admit these written messages into evidence, he may do so

without having one of the communicants read or characterize prior out of court statements. The

Government likely has objections to the admission of the content of those communications, but

the additional layer of hearsay where a witness reads or characterizes the content of the

communications does not make the content less objectionable, only more. Because these

paragraphs of the declaration propose hearsay within hearsay testimony by the Deponent, they

should not form a basis for a Rule 15 deposition or video testimony. See Grossman, 2005 WL

486735, at *3 (“[A] court may properly deny the motion if the proposed testimony would be

cumulative or consists of hearsay.”).

       The sole portion of the proposed testimony that is not directly from a written

communication describes a phone conversation in which the declaration states, “I told him

[Griffith] I did not think that he could participate in placing a node in the DPRK because of the

U.S. sanctions on the DPRK. During that discussion, Mr. Griffith indicated that he was going to

abandon the idea of putting an Ethereum node in the DPRK.” Def. Ex. A ¶ 5. The first statement

by the attorney is cumulative of Exhibit D to the defendant’s motion, sent the very next day, in

which the Deponent wrote in an email, “As discussed, I don’t think this is really doable for you

given your status as a US citizen and sanctions laws.” Def. Ex. D.

       The latter statement, recounting that the defendant falsely said he would abandon the node


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idea, constitutes inadmissible hearsay when offered by the defendant and is cumulative of other

evidence. To the extent the defendant were offering the statement for the truth of the matter

asserted, it should be excluded as inadmissible. See United States v. Marin, 669 F.2d 73, 84 (2d

Cir. 1982) (when a “defendant seeks to introduce his own prior statement for the truth of the matter

asserted, it is hearsay, and it is not admissible”). But even if not offered for the truth, the statement

is duplicative of other untrue statements made by the defendant at around the same time. For

example, on August 17, 2021, a week after his purported call with the Deponent, the defendant

wrote to the founder of the Ethereum Foundation, “I’ve decided not to actively pursue the dprk

node . . . I decided you two were right that this was too risky.” GX 607 (attached hereto as Exhibit

1). On August 24, 2018, the defendant wrote to CC-5, “I also wanted to ask about the DPRK

node . . . I’ve been asked to step away from this project. So alas, I must do that[.]” GX 608

(attached hereto as Exhibit 2). And on September 23, 2018, the defendant wrote, “I was going to

put an Ethereum node there, but I eventually decided it was too edgy and decided against it.” GX

3024 (attached hereto as Exhibit 3). These statements are cumulative of each other and of the only

portion of the draft declaration not drawn directly from written communications.2

        Even ignoring the above analysis for any one of these statements, however, the testimony

proposed in the declaration is cumulative and thus immaterial because the defendant himself is




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          In each communication described above, the remainder of these messages demonstrates
that the defendant did, in fact, continue to pursue the DPRK node, despite his protestations to the
contrary. On August 17, 2018, the defendant also stated, “If a south Korean org wants to lead the
charge I’ll assist. But only assist,” GX607; on August 24, 2018, the defendant wrote to CC-5
saying, “It seems to me that South Korea is allowed to violate those sanctions. The person who got
the okay from the dprk ISP is [the email address for CC-4],” GX 608; and on September 23, 2018,
the defendant wrote, “If you’ve got enough interest and willpower on your side (will require setting
up a nonprofit in North [K]orea), I’m willing got make the introductions,” GX 3024. Irrespective
of Griffiths’ other statements, however, the statement in the declaration about the defendant’s
alleged decision not to pursue the node is cumulative of each of these communications.


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available to testify at trial. In United States v. Buck, 271 F. Supp. 3d 619 (S.D.N.Y. 2017), the

court considered a similar request for live video testimony from a witness abroad. The defendant

sought to admit testimony from an attorney who supposedly provided legal advice relied on by the

defendant. In rejecting the motion, the court held:

                As to testimony regarding legal advice Buck received, Buck could
                introduce this same evidence by testifying himself. In fact, while the
                Court need not reach the potential admissibility of any witnesses’
                testimony, as Buck himself likely could provide this same evidence,
                any testimony about what advice Buck was given by other witnesses
                may be cumulative. See, e.g., United States v. Wilson, 11 F.3d 346,
                354 (2d Cir. 1993) (witness testimony “would be cumulative, given
                that [the defendant] could have called any number of witnesses,
                including himself,” to provide the same testimony). The Court is not
                persuaded that the witnesses at issue here would provide material
                evidence sufficient to allow testimony via videoconferencing.

Id. at 623. Like in Buck, the defendant could testify to his own understanding of the written

messages, as well as the purported legal advice, and his own reaction, to the extent admissible.

        The remaining paragraphs of the unsigned declaration—besides the first describing the

Deponent’s occupation—are equally inadmissible. Paragraph two makes assertions about the

scope of the privilege discussed below and paragraph seven contains the irrelevant speculation that

“to my knowledge . . . no further efforts were taken by Mr. Griffith or any other person associated

with the Ethereum Foundation to place a node in the DPRK.” Def. Ex. A ¶¶ 2, 7. See United States

v. Campbell, No. CR 91-1219 (RJD), 1998 WL 564376, at *1 (E.D.N.Y. June 30, 1998) (“A court

does not abuse this discretion where it denies a Rule 15 motion because ‘the evidence [is] in some

respects irrelevant and in others cumulative and possibly inadmissible as hearsay.’”); see also

Drogoul, 1 F.3d at 1555 (“[T]he court need not, at the cost of time and money, engage in an act of

futility by authorizing depositions that clearly will be inadmissible at trial.”).

        Because the Deponent’s proposed testimony is inadmissible and cumulative, it is not

material and the defendant’s motion should be denied.


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    B. Granting the Defendant’s Motion Would Not Further the Interests of Justice

       The defendant’s proposed deposition or video testimony would also not further the interests

of justice. As described below, the defendant’s motion seeks to impermissibly carve out only a

narrow waiver of privilege in order to seek selective testimony from his company’s General

Counsel about the legal advice provided to him by that attorney on just one occasion, allegedly in

his “personal” capacity. To the contrary, the evidence shows that the defendant was working with

others, who led the Ethereum Foundation, to pursue a node in the DPRK and sought the proposed

Deponent’s advice in conjunction with the company’s efforts. The effect of the defendant’s

position would be to restrict potentially relevant consultations, advice, and statements involving

this attorney from the Government’s purview by cloaking such matters in the Ethereum

Foundation’s privilege. Moreover, the defendant has never disclosed what the true content of the

proposed Deponent’s legal advice was (apart from admitting that it related to the “U.S. sanctions

on the DPRK”), has never disclosed what facts were presented to this attorney, and has not

confirmed that he will waive privilege over the content of all advice he received, and that the

Ethereum Foundation received, on the matter of DPRK sanctions from this attorney. See Def. Ex.

A ¶ 5. These myriad privilege issues demonstrate that the Government’s ability to effectively

cross-examine the Deponent is likely to be hindered, particularly in light of the untimely nature of

the defendant’s request, which has left little time to contest the scope of the applicable implicit

privilege waivers posed by this testimony, to provide any relevant otherwise-privileged materials

to the Government, and even to schedule this deposition with any kind of reasonable notice in light

of its complexity.

       In addition, the proposed deposition or video testimony would not further the interests of

justice because the Government’s opportunity to cross-examine may be hindered, because the

motion is untimely, and because the proposed testimony would not exculpate the defendant.


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       1. Privilege

       Despite serving as the General Counsel for the Ethereum Foundation where the defendant

worked, the proposed Deponent claims in his draft unsigned declaration, that with respect to a

single conversation occurring on August 8, 2021, the defendant “consulted with him in his personal

capacity.” Def. Ex. A at 1. The effect of the defendant’s position would be to reveal only a narrow

set of communications related to a single conversation with one lawyer, and to continue to withhold

as privileged other evidence and communications relating to the Ethereum Foundation and

Griffith’s joint attempts to work with the DPRK and to obtain legal advice relating to U.S.

sanctions on the DPRK. The defense should not be permitted to do so. See United States v.

Bilzerian, 926 F.2d 1285, 1292 (2d Cir. 1991) (“A defendant may not use the privilege to prejudice

his opponent’s case or to disclose some selected communications for self-serving purposes.”).

       The Government should not be required to accept the Deponent’s assertions about the

scope of the privilege, especially because his assertion that he was consulted in his personal

capacity is contrary to the evidence in this case. See id. at 1285 (“[T]he privilege may implicitly

be waived when defendant asserts a claim that in fairness requires examination of protected

communications.”). The defendant served as one of the highest-ranking individuals in the

Ethereum Foundation, as “Head of Special Projects,” and worked to pursue the DPRK node in

coordination with the organization’s founder and its Executive Director. On June 29, 2018, for

example, the Executive Director of the Ethereum Foundation wrote CC-5 by email copying

Griffith, stating “Who else are coming to the VIP Summit? Virgil told me Mayer was offering an

Ethereum specific research center (and an eth node in DPRK). Has that conversation been

developed?” GX 3010 (attached hereto as Exhibit 4). At the time, the Ethereum Foundation was

in the process of hiring CC-5 to perform services for Ethereum, including “[s]eeking for and

introducing potential business partners or personnel to the Company.” (See Dkt. 131, Gov’t MIL


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at 5.) After CC-5 responded to the Executive Director, copying Griffith, the founder of Ethereum,

and another high-level Ethereum colleague with an update, Griffith responded to the group,

emphasizing their goal: “To be clear an ‘institution’ in DPRK isn’t needed----just an Ethereum

node from a registered dprk ip block. If DPRK wants to do more beyond that, that’s great too.”

Similarly, on August 7, 2018, the defendant forwarded a proposal from CC-4 to place an Ethereum

node inside the DPRK to the founder of the Ethereum Foundation, and another Foundation

employee. See GX 3013 (attached hereto as Exhibit 5). The next day, on August 8, 2018, Griffith

told another Ethereum colleague, “Let me ask Tju Liang [that is, the proposed Deponent] as well

as a DPRK specialist whether if it’s possible to do this without violating sanctions. Will update

you both.” When the colleague emphasized, “It can’t be a sanction workaround loophole thing

either,” Griffith responded, “I’ll see what the lawyer says.” This record of Griffith’s close

coordination with the leaders of the Ethereum Foundation to pursue the node, along with his

decision to seek advice from Ethereum’s own in-house General Counsel, make clear that Griffith

was not acting solely in his personal capacity when he contacted the proposed Deponent.

       If the proposed Deponent was serving in his role as General Counsel for the Ethereum

Foundation, that would operate a waiver that potentially would apply to all discussions with

Ethereum Foundation employees, and certainly the company’s Executive Director and founder

who participated in pursuing the DPRK node, and all communications with Griffith. Any waiver

of privilege and the scope of that waiver is something that would need to be litigated before the

Court and settled before the taking of any deposition. See In re Grand Jury Proc., 219 F.3d 175,

191 (2d Cir. 2000) (“[T]he district court on remand should consider further whether there was any

waiver of Doe Corp.’s work-product privilege, and, if there was, the proper scope of the waiver.”).

To attempt to force that litigation into the week before trial for a witness the defense has known




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about for over a year would not be in the interests of justice.

       These issues are complex and significant, and by waiting until just over a week before trial

to request testimony from a witness that the defendant has known about since before the COVID-

19 pandemic began, the defendant has created a situation where granting the defendant’s request

would not serve the interests of justice, as required under the applicable standard.

       2. Meaningful Opportunity to Cross-Examine

       The interests of justice would also not be served by granting the deposition or video

testimony because it is unclear whether the Government would have a meaningful opportunity to

cross-examine the witness. Although the defendant’s motion is silent on the proposed procedure

for the deposition, information available to the Government suggests that there may be logistical

hurdles to the taking of such a deposition and limitations on the use of testimony that differ from

live testimony in the United States.

       Based on preliminary discussions with the Department of Justice’s Office of International

Affairs (“OIA”), a voluntary deposition of a witness in Singapore in a U.S. proceeding would,

according to Singaporean authorities, be the first of its kind. For that reason, Singaporean

authorities are continuing to consult the Singaporean Ministry of Law to determine the

requirements for such a procedure. At the very least, the witness would need to testify in the

presence of a Singapore Police Force officer. While extradition for perjury might be possible

depending on the circumstances, OIA has informed us that the Government would need to agree

that any evidence given by the witness could not be used in the prosecution of the person for an

offense other than for the offense of perjury, or contempt of court. In other words, the same

repercussions for testifying that would be present in the United States would not be present for the

Deponent’s testimony.

       In addition, the Government has not received any Rule 26.2 material for the Deponent.


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Such a disclosure is required. United States v. Mohamed, 18 Cr. 603 (ARR), Dkt. 113 at 4

(E.D.N.Y. Sept. 17, 2021) (“Because I find that Rule 15 depositions qualify as ‘trial’ under Rule 26.2,

I grant the government’s request and order defense counsel to produce any statements of the Rule 15

witnesses that ‘relate[] to the subject matter of the witness’s testimony.’” (alteration in original)

(quoting Fed. R. Crim. P. 26.2)). Until the Government receives that material, if it exists, the

proposed deposition or video testimony will be different than that required by Rule 15. See Fed.

R. Crim. P. 15(e)(2) (“The scope and manner of the deposition examination and cross-examination

must be the same as would be allowed during trial.”).

       3. The Motion is Untimely

       The interests of justice would also not be served because the motion was filed only fourteen

days before trial. The messages that comprise the bulk of the Deponent’s proposed testimony were

produced to the defendant on January 24, 2020, and March 13, 2020.3 The defendant could have

proposed to depose the Deponent at any point following that production and certainly shortly after

the Government rejected the defendant’s proposed fact stipulation on September 7, 2021. At this

point, with trial scheduled to begin on September 27, the application is too late. See United States

v. Allen, No. 14 Cr. 272, 2015 WL 5022524, at *1 (S.D.N.Y. Aug. 18, 2015) (noting “a fair

argument might be made that the application is untimely” when the motion was made more than

two months before trial).

       In United States v. Abu Ghayth, 17 F. Supp. 3d 289 (S.D.N.Y. 2014), the court rejected a

motion for a Rule 15 deposition in the middle of trial, citing that the defendant “was aware that




       3
         The Government produced the emails to the defense in discovery but did not include those
same emails in its identified material responsive to the warrant because they were identified as
potentially privileged in the Government’s taint review process, and were therefore never made
available to the case team until Griffith invoked his limited waiver over this single conversation.


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[the witness] might have useful information as early as” nearly a year before trial; that the

defendant had never previously raised any issues with securing the witness’s testimony with the

court; and that the defendant had made another Rule 15 motion without mentioning the witness.

Id. at 303-04. So too here has the defendant had access to information about the supposed value of

this witness for over a year, never previously raised the unavailability of the witness, and made

another motion to depose a different Rule 15 witness without mentioning this Deponent. Indeed,

for that witness, the defense has proposed to conduct their requested deposition on the Saturday

night prior to trial, which, given the time difference, constitutes the last day before trial for that

witness.

       The defendant’s citation to United States v. Al Kassar, No. 07 Cr. 354 (JSR), 2008 WL

4735269 (S.D.N.Y. Oct. 27, 2008) is inapposite. There, the court permitted a Rule 15 deposition

shortly before trial only because a Government witness became unexpectedly unavailable. As the

court held:

               The Court was tentatively of the view that the motion should be
               denied. However, just yesterday, the Government--after giving
               repeated assurances to the Court and the defendants that the relevant
               Spanish authorities had consented to make Castano’s colleague,
               Inspector Jose Villarejo, available to testify at the trial of this case
               in New York--telephonically informed the Court and defendants that
               other Spanish authorities had in effect reneged on, or
               countermanded, those promises.

Id. at 1. No similar change of circumstances occurred here. Instead, Al Kassar is illustrative of the

proposition, which undermines the defendant’s motion, that absent some extraordinary and

unforeseen circumstance, not present here, Rule 15 motions made so close to trial should be denied.

Id.

       4. The Proposed Testimony Is Not Exculpatory

       Finally, the proposed deposition would not further the interest of justice because the



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proffered testimony would not exculpate the defendant. See Kelley, 36 F.3d at 1125. As discussed

above, shortly after making the statement about abandoning his plans for the DPRK node, the

defendant continued to pursue the project. See supra at 7 & n2. In fact, the Government is planning

to admit evidence that the defendant, despite others’ admonitions that the defendant stop seeking

to aid the DPRK through his pursuit of a node, he continued to do so as important evidence of his

mens rea and the services he provided to the DPRK. See GX 607; GX 608; GX 3024.

                                         CONCLUSION

       For the reasons set forth herein, the Court should deny the defendant’s motion to take the

deposition of Tju Liang Chua pursuant to Rule 15 or to allow video testimony at trial.

       DATED:         New York, New York
                      September 20, 2021

                                                            Respectfully submitted,

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